                                                                                   Motion GRANTED.

                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )         NO. 2:11-00002
       v.                                      )
                                               )         JUDGE TRAUGER
JESSICA BURNS                                  )

                 DEFENDANT’S MOTION TO MODIFY THE JUDGMENT

       Defendant Jessica Lynn Burns, by and through undersigned counsel, and pursuant to Rule

35 of the Federal Rules of Criminal Procedure, does hereby move the Court to modify the

Judgment (Docket Entry No. 1499) entered on April 29, 2013. Specifically, Defendant requests

the Court modify page 2 of the Judgment to reflect a recommendation that Defendant be “housed

in a federal facility close to Crossville, Tennessee.”

       For reason, undersigned counsel would show that during the sentencing hearing on April

29, 2013, Ms. Burns’ father and step-mother (John and Nancy Strait) testified they discussed

with Ms. Burns alternate living arrangements, and were prepared to offer her the opportunity to

reside in a mobile home located at 58 Lowe Drive, Crossville, Tennessee 38571, and on their

property now vacate due to the death of Mrs. Strait’s mother. Mr. and Mrs. Strait reside at 1529

North Lowe Road, Crossville, Tennessee. At the time, Ms. Burns was not sure about relocating

her and her children to Tennessee. Ms. Burns has decided to accept the offer from the Straits,

and plans to move her children to the new home just as soon as school is completed in Florida.

       For those reasons, Ms. Burns requests the Court modify the Judgment to reflect a

recommendation that her sentence of 1 year and 1 day be served at a federal facility near

Crossville, Tennessee.


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